                                        Case 22-15202-LMI                          Doc 12             Filed 07/15/22                    Page 1 of 51

Fill in this information to identify your case:

Debtor 1                   Guillermo A Ramon, Jr.
                           First Name                           Middle Name                          Last Name

Debtor 2                   Gloria Suarez
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                                                                 Check if this is an
                                                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                    0.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $                 6,971.94

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $                 6,971.94

Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $                    0.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                    0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $             43,795.38


                                                                                                                                    Your total liabilities $                  43,795.38


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 5,089.68

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 5,070.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

         Yes
7.     What kind of debt do you have?


              Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
                              Case 22-15202-LMI                  Doc 12         Filed 07/15/22              Page 2 of 51
Debtor 1    Guillermo A Ramon, Jr.
Debtor 2    Gloria Suarez                                                               Case number (if known) 22-15202-LMI
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $   5,742.32


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information              page 2 of 2
                                       Case 22-15202-LMI                   Doc 12           Filed 07/15/22                Page 3 of 51

Fill in this information to identify your case and this filing:

Debtor 1                  Guillermo A Ramon, Jr.
                          First Name                     Middle Name                       Last Name

Debtor 2                  Gloria Suarez
(Spouse, if filing)       First Name                     Middle Name                       Last Name


United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI                                                                                                               Check if this is an
                                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes.      Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.        Describe.....

                                       Misc. Household Goods and Furnishing
                                       Based on Inventory List                                                                                              $1,960.00




Official Form 106A/B                                                    Schedule A/B: Property                                                                  page 1
                               Case 22-15202-LMI                 Doc 12         Filed 07/15/22             Page 4 of 51
Debtor 1      Guillermo A Ramon, Jr.
Debtor 2      Gloria Suarez                                                                         Case number (if known)     22-15202-LMI

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes.   Describe.....

                               Misc. Electronics
                               Based on Inventory List                                                                                             $610.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.   Describe.....

                               Misc. Clothing and Shoes
                               Based on Inventory List                                                                                              $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.   Describe.....

                               2 Wedding Bands
                               Based on Inventory List                                                                                             $550.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes.   Describe.....

                               1 Adult Dog
                               No Market Value                                                                                                        $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $3,170.00



Official Form 106A/B                                         Schedule A/B: Property                                                                   page 2
                                           Case 22-15202-LMI                                  Doc 12                 Filed 07/15/22    Page 5 of 51
Debtor 1          Guillermo A Ramon, Jr.
Debtor 2          Gloria Suarez                                                                                                  Case number (if known)   22-15202-LMI

Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                      Cash on Hand                         $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                                                                Baptist Health South Florida Credit Union
                                             17.1.       Checking                               X0114-75                                                                  $318.81


                                                                                                Baptist Health South Florida Credit Union
                                             17.2.       Savings                                X0114-01                                                                     $0.00


                                                                                                Chase X5877
                                             17.3.       Checking                               Zero Balance                                                                 $0.00



                                             17.4.       Checking                               Chase X8372                                                               $107.38


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................        Institution or issuer name:


                                                       Acorn                                                                                                               $21.75


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                                 Name of entity:                                                                  % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                             Type of account:                                   Institution name:




Official Form 106A/B                                                                    Schedule A/B: Property                                                               page 3
                                     Case 22-15202-LMI                  Doc 12         Filed 07/15/22            Page 6 of 51
Debtor 1        Guillermo A Ramon, Jr.
Debtor 2        Gloria Suarez                                                                              Case number (if known)      22-15202-LMI


                                                                         Debtor has a 403(b) Retirement Plan with
                                                                         Transamerica                                                                 $1,401.86


                                                                         Debtor has a 401(k) Retirement Plan through
                                                                         Voya                                                                          $508.52


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
Official Form 106A/B                                                Schedule A/B: Property                                                                page 4
                                      Case 22-15202-LMI                            Doc 12              Filed 07/15/22                   Page 7 of 51
Debtor 1        Guillermo A Ramon, Jr.
Debtor 2        Gloria Suarez                                                                                                   Case number (if known)        22-15202-LMI

    Yes. Name the insurance company of each policy and list its value.
                                            Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

                                            Debtors have life insurance policies
                                            through their employers                                                                                                              $0.00


                                            Debtors have health insurance with
                                            Aetna                                                                                                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes.      Give specific information..

                                                         Garnished Wages                                                                                                     $1,433.62


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $3,801.94


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes.     Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes.     Go to line 47.



Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00
Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 5
                                        Case 22-15202-LMI                              Doc 12               Filed 07/15/22                     Page 8 of 51
Debtor 1         Guillermo A Ramon, Jr.
Debtor 2         Gloria Suarez                                                                                                         Case number (if known)   22-15202-LMI


Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                                 $0.00
57. Part 3: Total personal and household items, line 15                                                        $3,170.00
58. Part 4: Total financial assets, line 36                                                                    $3,801.94
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                        $6,971.94             Copy personal property total              $6,971.94

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $6,971.94




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 6
                                     Case 22-15202-LMI              Doc 12           Filed 07/15/22            Page 9 of 51

Fill in this information to identify your case:

Debtor 1                Guillermo A Ramon, Jr.
                        First Name                   Middle Name                    Last Name

Debtor 2                Gloria Suarez
(Spouse if, filing)     First Name                   Middle Name                    Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.           11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from      Check only one box for each exemption.
                                                       Schedule A/B

     Misc. Household Goods and                                                                                           Fla. Const. Art. X, § 4(a)(2)
     Furnishing
                                                               $1,960.00                                  $1,940.00
     Based on Inventory List                                                     100% of fair market value, up to
     Line from Schedule A/B: 6.1                                                      any applicable statutory limit

     Misc. Electronics                                                                                                   Fla. Stat. Ann. § 222.25(4)
     Based on Inventory List
                                                                   $610.00                                  $610.00
     Line from Schedule A/B: 7.1                                                 100% of fair market value, up to
                                                                                      any applicable statutory limit

     Misc. Clothing and Shoes                                                                                            Fla. Const. Art. X, § 4(a)(2)
     Based on Inventory List
                                                                    $50.00                                   $50.00
     Line from Schedule A/B: 11.1                                                100% of fair market value, up to
                                                                                      any applicable statutory limit

     2 Wedding Bands                                                                                                     Fla. Stat. Ann. § 222.25(4)
     Based on Inventory List
                                                                   $550.00                                  $550.00
     Line from Schedule A/B: 12.1                                                100% of fair market value, up to
                                                                                      any applicable statutory limit

     Cash on Hand                                                                                                        Fla. Const. Art. X, § 4(a)(2)
     Line from Schedule A/B: 16.1
                                                                    $10.00                                   $10.00
                                                                                 100% of fair market value, up to
                                                                                      any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
                              Case 22-15202-LMI                 Doc 12          Filed 07/15/22           Page 10 of 51

Debtor 1   Guillermo A Ramon, Jr.
Debtor 2   Gloria Suarez                                                                       Case number (if known)     22-15202-LMI
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Checking: Baptist Health South                                                                                      Fla. Stat. Ann. § 222.25(4)
    Florida Credit Union X0114-75
                                                               $318.81                                  $318.81
    Line from Schedule A/B: 17.1                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Chase X8372                                                                                               Fla. Stat. Ann. § 222.25(4)
    Line from Schedule A/B: 17.4
                                                               $107.38                                  $107.38
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Acorn                                                                                                               Fla. Stat. Ann. § 222.25(4)
    Line from Schedule A/B: 18.1
                                                                $21.75                                   $21.75
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Debtor has a 403(b) Retirement Plan                                                                                 Fla. Stat. Ann. § 222.21(2)
    with Transamerica
                                                            $1,401.86                                 $1,401.86
    Line from Schedule A/B: 21.1                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Debtor has a 401(k) Retirement Plan                                                                                 Fla. Stat. Ann. § 222.21(2)
    through Voya
                                                               $508.52                                  $508.52
    Line from Schedule A/B: 21.2                                             100% of fair market value, up to
                                                                                 any applicable statutory limit

    Garnished Wages                                                                                                     Fla. Stat. Ann. § 222.25(4)
    Line from Schedule A/B: 35.1
                                                            $1,433.62                                 $1,433.62
                                                                             100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       No
       Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
                                 Case 22-15202-LMI                 Doc 12         Filed 07/15/22             Page 11 of 51

Fill in this information to identify your case:

Debtor 1                Guillermo A Ramon, Jr.
                        First Name                  Middle Name                   Last Name

Debtor 2                Gloria Suarez
(Spouse if, filing)     First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                                   Check if this is an
                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 106D                         Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
                                   Case 22-15202-LMI                        Doc 12           Filed 07/15/22                 Page 12 of 51

Fill in this information to identify your case:

Debtor 1                  Guillermo A Ramon, Jr.
                          First Name                       Middle Name                       Last Name

Debtor 2                  Gloria Suarez
(Spouse if, filing)       First Name                       Middle Name                       Last Name


United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
       Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Ally Financial                                          Last 4 digits of account number         9819                                                              $1.00
             Nonpriority Creditor's Name
                                                                                                             Opened 11/15 Last Active
             P.o. Box 380901                                         When was the debt incurred?             04/16
             Bloomington, MN 55438
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              Debtor 1 only                                          Contingent
              Debtor 2 only                                          Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
              At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                 Student loans
             debt                                                     Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts
              Yes                                                    Other. Specify     Automobile




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.2      Amex                                            Last 4 digits of account number       8313                                            $1.00
         Nonpriority Creditor's Name
         P.o. Box 981537                                 When was the debt incurred?           Opened 4/28/84
         El Paso, TX 79998
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.3      Amex                                            Last 4 digits of account number       8903                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 4/28/84 Last Active
         P.o. Box 981537                                 When was the debt incurred?           08/12
         El Paso, TX 79998
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.4      Baptist Health Medical Group                    Last 4 digits of account number       7891                                         $421.60
         Nonpriority Creditor's Name
         PO Box 835277                                   When was the debt incurred?
         Miami, FL 33283
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Medical Debt




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.5      Best Buy Credit Card Services                   Last 4 digits of account number       CC25                                            $1.00
         Nonpriority Creditor's Name
         POB 9001007                                     When was the debt incurred?
         Louisville, KY 40290-1007
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.6      Capital One                                     Last 4 digits of account number       6998                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 02/19 Last Active
         Po Box 31293                                    When was the debt incurred?           11/20
         Salt Lake City, UT 84131
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.7      Capital One                                     Last 4 digits of account number       0073                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 08/19 Last Active
         Po Box 31293                                    When was the debt incurred?           11/20
         Salt Lake City, UT 84131
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.8      Chase Card Services                             Last 4 digits of account number       8814                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 03/16 Last Active
         700 Kansas Lane                                 When was the debt incurred?           10/16
         Monroe, LA 71203
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Automobile


4.9      Chase Card Services                             Last 4 digits of account number       5955                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 12/15 Last Active
         Po Box 15369                                    When was the debt incurred?           11/16
         Wilmington, DE 19850
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.1
0        Chase Card Services                             Last 4 digits of account number       0254                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 10/15 Last Active
         Po Box 15369                                    When was the debt incurred?           11/17
         Wilmington, DE 19850
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.1
1        Checksystems                                    Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         7805 Hudson Rd                                  When was the debt incurred?
         Saint Paul, MN 55125
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.1
2        Checksystems                                    Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         7805 Hudson Rd                                  When was the debt incurred?
         Saint Paul, MN 55125
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.1
3        Child Support Enforcement                       Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         PO Box 8030                                     When was the debt incurred?
         Tallahassee, FL 32314
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.1
4        Child Support Enforcemment                      Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         PO Box 8030                                     When was the debt incurred?
         Tallahassee, FL 32314
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.1
5        Comenity Bank/Victoria Secret                   Last 4 digits of account number       5753                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 06/14 Last Active
         Po Box 182789                                   When was the debt incurred?           01/17
         Columbus, OH 43218
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.1
6        Comenity/zlotlt                                 Last 4 digits of account number       9345                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 11/28/15 Last Active
         Po Box 182120                                   When was the debt incurred?           03/17
         Columbus, OH 43218
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.1
7        Comenity/zlotlt                                 Last 4 digits of account number       9295                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 11/15 Last Active
         Po Box 182120                                   When was the debt incurred?           05/17
         Columbus, OH 43218
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.1
8        Convergent Outsourcing, Inc.                    Last 4 digits of account number       1878                                        $1,715.00
         Nonpriority Creditor's Name
                                                                                               Opened 10/21 Last Active
         Po Box 9004                                     When was the debt incurred?           08/17
         Renton, WA 98057
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.1
9        Department of the Treasury                      Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         Po Box 21126                                    When was the debt incurred?
         Philadelphia, PA 19114
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.2
0        Department Of The Treasury                      Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         PO Box 21126                                    When was the debt incurred?
         Philadelphia, PA 19114-0326
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.2
1        Discover Financial                              Last 4 digits of account number       7866                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 08/14 Last Active
         Po Box 30939                                    When was the debt incurred?           5/02/17
         Salt Lake City, UT 84130
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.2
2        Discover Financial                              Last 4 digits of account number       0197                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 12/13 Last Active
         Po Box 30939                                    When was the debt incurred?           9/11/16
         Salt Lake City, UT 84130
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.2
3        Equifax                                         Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
                                                         When was the debt incurred?
         Po Box 740241
         Atlanta, GA 30374
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.2
4        Equifax                                         Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         PO Box 740241                                   When was the debt incurred?
         Atlanta, GA 30374
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.2
5        Experian                                        Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         Po Box 2002                                     When was the debt incurred?
         Allen, TX 75013
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.2
6        Experian                                        Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         PO Box 2002                                     When was the debt incurred?
         Allen, TX 75013
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.2
7        Florida Department Of Revenue                   Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         5050 W Tennessee St                             When was the debt incurred?
         Tallahassee, FL 32399-0110
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.2
8        Florida Department Of Revenue                   Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         5050 W Tennessee St                             When was the debt incurred?
         Tallahassee, FL 32399-0110
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.2
9        Florida Health Systems FCU                      Last 4 digits of account number       0021                                         $422.00
         Nonpriority Creditor's Name
                                                                                               Opened 06/22 Last Active
         13200 S West 128th St Ste C-1                   When was the debt incurred?           6/23/22
         Miami, FL 33186
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Secured


4.3      IRS Centralized Bankruptcy
0        Department                                      Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         POB 7346                                        When was the debt incurred?
         Philadelphia, PA 19101-7346
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only


4.3      IRS Centralized Bankruptcy
1        Department                                      Last 4 digits of account number       0650                                            $0.00
         Nonpriority Creditor's Name
         POB 7346                                        When was the debt incurred?
         Philadelphia, PA 19101-7346
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.3
2        Kia Motors Finance                              Last 4 digits of account number       2548                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 10/16 Last Active
         10550 Talbert Ave                               When was the debt incurred?           08/20
         Fountain Valley, CA 92708
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Lease


4.3
3        Macys/fdsb                                      Last 4 digits of account number       0301                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 08/14 Last Active
         Po Box 6789                                     When was the debt incurred?           05/17
         Sioux Falls, SD 57117
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.3
4        Macys/fdsb                                      Last 4 digits of account number       7451                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 06/14 Last Active
         Po Box 6789                                     When was the debt incurred?           10/16
         Sioux Falls, SD 57117
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.3
5        Midland Funding, LLC                            Last 4 digits of account number       4864                                        $6,635.00
         Nonpriority Creditor's Name
                                                                                               Opened 02/18 Last Active
         320 East Big Beaver                             When was the debt incurred?           04/17
         Troy, MI 48083
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.3
6        Midland Funding, LLC                            Last 4 digits of account number       9434                                        $4,173.00
         Nonpriority Creditor's Name
                                                                                               Opened 06/17 Last Active
         320 East Big Beaver                             When was the debt incurred?           01/17
         Troy, MI 48083
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.3
7        Midland Funding, LLC.                           Last 4 digits of account number       CC25                                        $6,724.52
         Nonpriority Creditor's Name
         350 Camino De La Reina, Suite 100               When was the debt incurred?
         San Diego, CA 92108
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Judgment




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.3
8        Molly, Fitzpatrick, Esq.                        Last 4 digits of account number       CC25                                            $1.00
         Nonpriority Creditor's Name
         PO Box 290335                                   When was the debt incurred?
         Tampa, FL 33687
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Attorney for Midland Funding, LLC


4.3
9        Nordstrom FSB                                   Last 4 digits of account number       6187                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 06/16 Last Active
         13531 E. Caley Ave                              When was the debt incurred?           04/17
         Englewood, CO 80111
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.4
0        Nordstrom FSB                                   Last 4 digits of account number       8340                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 07/15 Last Active
         13531 E. Caley Ave                              When was the debt incurred?           10/16
         Englewood, CO 80111
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.4
1        Pollack & Rosen, P.A                            Last 4 digits of account number       SP25                                            $1.00
         Nonpriority Creditor's Name
         806 Douglas Rd , #200                           When was the debt incurred?
         South Tower
         Miami, FL 33134
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Attorney for Portfolio Recovery Services


4.4
2        Pollack & Rosen, P.A                            Last 4 digits of account number       SP25                                            $1.00
         Nonpriority Creditor's Name
         806 Douglas Rd , #200                           When was the debt incurred?
         South Tower
         Miami, FL 33134
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Attorney for Portfolio Recovery Associates


4.4
3        Portfolio Affiliated Services, LLC              Last 4 digits of account number       SP25                                        $1,635.38
         Nonpriority Creditor's Name
         140 Corporate Blvd                              When was the debt incurred?
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Judgment




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.4
4        Portfolio Recovery Associates, LLC              Last 4 digits of account number       5275                                        $5,977.00
         Nonpriority Creditor's Name
                                                                                               Opened 05/17 Last Active
         120 Corporate Blvd Ste 100                      When was the debt incurred?           10/16
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.4
5        Portfolio Recovery Associates, LLC              Last 4 digits of account number       9526                                        $5,792.00
         Nonpriority Creditor's Name
                                                                                               Opened 05/17 Last Active
         120 Corporate Blvd Ste 100                      When was the debt incurred?           10/16
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.4
6        Portfolio Recovery Associates, LLC              Last 4 digits of account number       6225                                        $2,250.00
         Nonpriority Creditor's Name
                                                                                               Opened 05/17 Last Active
         120 Corporate Blvd Ste 100                      When was the debt incurred?           10/16
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.4
7        Portfolio Recovery Associates, LLC              Last 4 digits of account number       4812                                        $2,059.00
         Nonpriority Creditor's Name
                                                                                               Opened 05/17 Last Active
         120 Corporate Blvd Ste 100                      When was the debt incurred?           11/16
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.4
8        Portfolio Recovery Associates, LLC              Last 4 digits of account number       1633                                        $1,635.00
         Nonpriority Creditor's Name
                                                                                               Opened 12/17 Last Active
         120 Corporate Blvd Ste 100                      When was the debt incurred?           06/17
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.4
9        Portfolio Recovery Associates, LLC              Last 4 digits of account number       CC25                                            $1.00
         Nonpriority Creditor's Name
         120 Corporate Blvd Ste 100                      When was the debt incurred?
         Norfolk, VA 23502
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.5
0        R US Credit Cards/SYncb                         Last 4 digits of account number       SP25                                        $2,415.03
         Nonpriority Creditor's Name
         POB 530938                                      When was the debt incurred?
         Atlanta, GA 30353-0938
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Judgment


4.5
1        Radius Global Solutions, LLC                    Last 4 digits of account number       4216                                            $1.00
         Nonpriority Creditor's Name
         PO Box 390905                                   When was the debt incurred?
         Minneapolis, MN 55439
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     collection agency for td bank


4.5
2        Regions Bank                                    Last 4 digits of account number       1331                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 01/16 Last Active
         720 North 39th Street                           When was the debt incurred?           07/17
         Birmingham, AL 35222
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Unsecured




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Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.5
3        Synchrony Bank/JCPenney                         Last 4 digits of account number       7405                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 07/14 Last Active
         Po Box 965007                                   When was the debt incurred?           08/16
         Orlando, FL 32896
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.5
4        Target Nb                                       Last 4 digits of account number       6483                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 12/18/14 Last Active
         Po Box 673                                      When was the debt incurred?           04/17
         Minneapolis, MN 55440
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card


4.5
5        TD Bank                                         Last 4 digits of account number       4216                                         $244.44
         Nonpriority Creditor's Name
         2401 Ponce De Leon Blvd                         When was the debt incurred?
         Miami, FL 33134
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Credit Card




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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                       Case number (if known)        22-15202-LMI

4.5
6        Tidewater Finance Company                       Last 4 digits of account number       4442                                        $1,667.41
         Nonpriority Creditor's Name
                                                                                               Opened 3/18/15 Last Active
         6520 Indian River Rd                            When was the debt incurred?           8/12/15
         Virginia Beach, VA 23464
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Charge Account


4.5
7        Toyota Financial Services                       Last 4 digits of account number       Z585                                            $1.00
         Nonpriority Creditor's Name
                                                                                               Opened 06/15 Last Active
         Po Box 647                                      When was the debt incurred?           06/18
         Alpharetta, GA 30009
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Automobile


4.5
8        Transunion                                      Last 4 digits of account number       9750                                            $0.00
         Nonpriority Creditor's Name
         Po Box 1000                                     When was the debt incurred?
         Chester, PA 19016
         Number Street City State Zip Code               As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          Debtor 1 only                                  Contingent
          Debtor 2 only                                  Unliquidated
          Debtor 1 and Debtor 2 only                     Disputed
          At least one of the debtors and another       Type of NONPRIORITY unsecured claim:

          Check if this claim is for a community         Student loans
         debt                                             Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                 report as priority claims

          No                                             Debts to pension or profit-sharing plans, and other similar debts
          Yes                                            Other. Specify     Notice Only




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Debtor 2 Gloria Suarez                                                                             Case number (if known)        22-15202-LMI

4.5
9         Transunion                                           Last 4 digits of account number       0650                                                       $0.00
          Nonpriority Creditor's Name
          PO Box 1000                                          When was the debt incurred?
          Chester, PA 19016-1000
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify     Notice Only


4.6
0         Volkswagen Credit, Inc                               Last 4 digits of account number       4543                                                       $1.00
          Nonpriority Creditor's Name
                                                                                                     Opened 03/12 Last Active
          P.o. Box 3                                           When was the debt incurred?           05/15
          Hillsboro, OR 97123
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                       Unliquidated
           Debtor 1 and Debtor 2 only                          Disputed
           At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community              Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

           No                                                  Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify     Lease

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Ally Financial                                           Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 380901
Bloomington, MN 55438
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Amex                                                     Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Correspondence/Bankruptcy                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 981540
El Paso, TX 79998
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Amex                                                     Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Correspondence/Bankruptcy                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 981540
El Paso, TX 79998
                                                         Last 4 digits of account number

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Debtor 2 Gloria Suarez                                                          Case number (if known)         22-15202-LMI


Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One                            Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn: Bnakruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 30285
Salt Lake City, UT 84130
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One                            Line 4.7 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn: Bnakruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 30285
Salt Lake City, UT 84130
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Chase Card Services                    Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 15298
Wilmington, DE 19850
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Chase Card Services                    Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
P.O. 15298
Wilmington, DE 19850
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Chase Card Services                    Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
P.O. 15298
Wilmington, DE 19850
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity Bank/Victoria Secret          Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 182125
Columbus, OH 43218
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity/zlotlt                        Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 182125
Columbus, OH 45318
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Comenity/zlotlt                        Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 182125
Columbus, OH 45318
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Convergent Outsourcing, Inc.           Line 4.18 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
800 Sw 39th St, Ste 100
Renton, WA 98057
                                       Last 4 digits of account number

Name and Address                       On which entry in Part 1 or Part 2 did you list the original creditor?
Discover Financial                     Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 3025
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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                             Case number (if known)         22-15202-LMI

New Albany, OH 43054
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Discover Financial                        Line 4.22 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 3025
New Albany, OH 43054
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Florida Health Systems FCU                Line 4.29 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
7315 Sw 87th Ave
Miami, FL 33173
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Kia Motors Finance                        Line 4.32 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 20825
Fountain Valley, CA 92728
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Macys/fdsb                                Line 4.33 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
9111 Duke Boulevard
Mason, OH 45040
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Macys/fdsb                                Line 4.34 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
9111 Duke Boulevard
Mason, OH 45040
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Midland Funding, LLC                      Line 4.35 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 939069
San Diego, CA 92193
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Midland Funding, LLC                      Line 4.36 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 939069
San Diego, CA 92193
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Nordstrom FSB                             Line 4.39 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 6555
Englewood, CO 80155
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Nordstrom FSB                             Line 4.40 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 6555
Englewood, CO 80155
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates, LLC        Line 4.44 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
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Debtor 2 Gloria Suarez                                                             Case number (if known)         22-15202-LMI

Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Boulevard
Norfolk, VA 23502
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates, LLC        Line 4.45 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Boulevard
Norfolk, VA 23502
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates, LLC        Line 4.46 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Boulevard
Norfolk, VA 23502
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates, LLC        Line 4.47 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Boulevard
Norfolk, VA 23502
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Portfolio Recovery Associates, LLC        Line 4.48 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
120 Corporate Boulevard
Norfolk, VA 23502
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Regions Bank                              Line 4.52 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
2050 Parkway Office Circle
Hoover, AL 35244
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank/JCPenney                   Line 4.53 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 965060
Orlando, FL 32896
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Target Nb                                 Line 4.54 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
C/O Financial & Retail Services                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Mailstop BT PO Box 9475
Minneapolis, MN 55440
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Tidewater Finance Company                 Line 4.56 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
6520 Indian River Road
Virgina Beach, VA 23464
                                          Last 4 digits of account number

Name and Address                          On which entry in Part 1 or Part 2 did you list the original creditor?
Toyota Financial Services                 Line 4.57 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 259001
Plano, TX 75025
                                          Last 4 digits of account number


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Debtor 1 Guillermo A Ramon, Jr.
Debtor 2 Gloria Suarez                                                                                    Case number (if known)        22-15202-LMI

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Volkswagen Credit, Inc                                       Line 4.60 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Po Box 3
Hillsboro, OR 97123
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  43,795.38

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  43,795.38




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Fill in this information to identify your case:

Debtor 1                 Guillermo A Ramon, Jr.
                         First Name                         Middle Name               Last Name

Debtor 2                 Gloria Suarez
(Spouse if, filing)      First Name                         Middle Name               Last Name


United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.          You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.2
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.3
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.4
          Name


          Number       Street

          City                                    State                   ZIP Code
 2.5
          Name


          Number       Street

          City                                    State                   ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Guillermo A Ramon, Jr.
                           First Name                            Middle Name            Last Name

Debtor 2                   Gloria Suarez
(Spouse if, filing)        First Name                            Middle Name            Last Name


United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
      Yes
      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:

   3.1                                                                                                  Schedule D, line
               Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
               Number             Street
               City                                      State                          ZIP Code




   3.2                                                                                                  Schedule D, line
               Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
               Number             Street
               City                                      State                          ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                 Page 1 of 1
                                  Case 22-15202-LMI               Doc 12       Filed 07/15/22           Page 39 of 51



Fill in this information to identify your case:

Debtor 1                      Guillermo A Ramon, Jr.

Debtor 2                      Gloria Suarez
(Spouse, if filing)

United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA

Case number               22-15202-LMI                                                                  Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                  Employed
       attach a separate page with            Employment status
       information about additional                                  Not employed                              Not employed
       employers.
                                              Occupation            Service Advisor                            Oncology Treatment Coordinator
       Include part-time, seasonal, or
       self-employed work.                    Employer's name       Auto Nation                                Baptist Health South Florida

       Occupation may include student         Employer's address
                                                                    4181 SW 8TH ST                             8900 Kendall Drive
       or homemaker, if it applies.
                                                                    Miami, FL 33134                            Miami, FL 33176

                                              How long employed there?         8 months                                 2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         2,751.04        $         3,803.87

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      2,751.04               $   3,803.87




Official Form 106I                                                       Schedule I: Your Income                                                  page 1
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Debtor 1   Guillermo A Ramon, Jr.
Debtor 2   Gloria Suarez                                                                         Case number (if known)    22-15202-LMI


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      2,751.04       $         3,803.87

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        258.74   $               247.24
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                 0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $        110.04   $               152.17
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                 0.00
     5e.    Insurance                                                                     5e.        $         26.56   $               498.18
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                 0.00
     5g.    Union dues                                                                    5g.        $          0.00   $                 0.00
     5h.    Other deductions. Specify: Life Insurance                                     5h.+       $          0.00 + $                70.83
            Ad&D                                                                                     $          0.00   $                 3.03
            Pet Insurance                                                                            $          0.00   $                 8.00
            BHM Cafeteria                                                                            $          0.00   $                86.15
            BHM Gift Shop                                                                            $          0.00   $                 4.29
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            395.34       $        1,069.89
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,355.70       $        2,733.98
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,355.70 + $       2,733.98 = $            5,089.68
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           5,089.68
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                Guillermo A Ramon, Jr.                                                             Check if this is:
                                                                                                            An amended filing
Debtor 2                Gloria Suarez                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number           22-15202-LMI
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                            Daughter                             5               Yes
                                                                                                                                        No
                                                                                   Son                                  6               Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            400.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                          100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
                             Case 22-15202-LMI                     Doc 12          Filed 07/15/22               Page 42 of 51


Debtor 1     Guillermo A Ramon, Jr.
Debtor 2     Gloria Suarez                                                                             Case number (if known)      22-15202-LMI

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                              230.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                              100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                0.00
      6d. Other. Specify: Internet and cable                                                                 6d.   $                              160.00
             Cellphone                                                                                             $                              160.00
             Alarm                                                                                                 $                               10.00
7.    Food and housekeeping supplies                                                           7.                  $                            1,200.00
8.    Childcare and children’s education costs                                                 8.                  $                              400.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                              200.00
10.   Personal care products and services                                                    10.                   $                              200.00
11.   Medical and dental expenses                                                            11.                   $                              125.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  360.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  700.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet Expenses                                                        21. +$                                                 75.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     5,070.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     5,070.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,089.68
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,070.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  19.68

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    Guillermo A Ramon, Jr.
                            First Name            Middle Name              Last Name

Debtor 2                    Gloria Suarez
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF FLORIDA

Case number              22-15202-LMI
(if known)
                                                                                                                          Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                               12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

        Yes. Name of person                                                                           Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Guillermo A Ramon, Jr.                                        X   /s/ Gloria Suarez
             Guillermo A Ramon, Jr.                                            Gloria Suarez
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       July 15, 2022                                          Date    July 15, 2022




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
                                   Case 22-15202-LMI               Doc 12        Filed 07/15/22             Page 44 of 51




Fill in this information to identify your case:

Debtor 1                  Guillermo A Ramon, Jr.
                          First Name              Middle Name                   Last Name

Debtor 2                  Gloria Suarez
(Spouse if, filing)       First Name              Middle Name                   Last Name


United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF FLORIDA

Case number           22-15202-LMI
(if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
       Not married
2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
       Debtor 1:                                      Dates Debtor 1               Debtor 2 Prior Address:                               Dates Debtor 2
                                                      lived there                                                                        lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       No
             Yes. Fill in the details.

                                           Debtor 1                                                       Debtor 2
                                           Sources of income               Gross income                   Sources of income               Gross income
                                           Check all that apply.           (before deductions and         Check all that apply.           (before deductions
                                                                           exclusions)                                                    and exclusions)

From January 1 of current year until
the date you filed for bankruptcy:
                                            Wages, commissions,                       $17,669.45          Wages, commissions,                 $16,784.45
                                           bonuses, tips                                                  bonuses, tips
                                            Operating a business                                          Operating a business




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
                                Case 22-15202-LMI                       Doc 12        Filed 07/15/22             Page 45 of 51
Debtor 1     Guillermo A Ramon, Jr.
Debtor 2     Gloria Suarez                                                                             Case number (if known)   22-15202-LMI

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income         Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.     (before deductions
                                                                                exclusions)                                              and exclusions)

For last calendar year:
(January 1 to December 31, 2021 )
                                                 Wages, commissions,                         $5,008.91         Wages, commissions,           $29,694.09
                                                bonuses, tips                                                  bonuses, tips
                                                 Operating a business                                          Operating a business

For the calendar year before that:
(January 1 to December 31, 2020 )
                                                 Wages, commissions,                       $68,727.07          Wages, commissions,           $33,040.93
                                                bonuses, tips                                                  bonuses, tips
                                                 Operating a business                                          Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      No
          Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income         Gross income
                                                Describe below.                 each source                    Describe below.           (before deductions
                                                                                (before deductions and                                   and exclusions)
                                                                                exclusions)
For last calendar year:                         Unemployment                                $18,111.00
(January 1 to December 31, 2021 )               Compensation

                                                                                                   $0.00       Distribution from                    $650.00
                                                                                                               Retiremement
                                                                                                               Account

For the calendar year before that:              Unemployment                                  $1,650.00
(January 1 to December 31, 2020 )               Compensation

                                                Distribution from                           $15,367.72         Distribution from                $17,869.25
                                                Retiremement                                                   Retiremement
                                                Account                                                        Account


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
      No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                     No.       Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
                                Case 22-15202-LMI                  Doc 12          Filed 07/15/22             Page 46 of 51
Debtor 1     Guillermo A Ramon, Jr.
Debtor 2     Gloria Suarez                                                                          Case number (if known)   22-15202-LMI


          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No.     Go to line 7.
                     Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                       Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                              paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

          No
      Yes. List all payments to an insider.
      Insider's Name and Address                        Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                              paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
      Yes. List all payments to an insider
      Insider's Name and Address                        Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                              paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

      No
          Yes. Fill in the details.
      Case title                                        Nature of the case           Court or agency                         Status of the case
      Case number
      TD Bank (USA) (NA) VS. Guillermo                  Contract and                 Miami Dade County Clerk of               Pending
      A Ramon                                           Indebtedness                 Court                                    On appeal
      2017-022030-SP-23                                                              111 NW First Street                        Concluded
                                                                                     Miami, FL 33128

      Portfolio Recovery Associates,                    Contract and                 Miami Dade County Clerk of               Pending
      LLC VS. Gloria Suarez                             Indebtedness                 Court                                    On appeal
      2018-011500-SP-25                                                              111 NW First Street                        Concluded
                                                                                     Miami, FL 33128

      Portfolio Recovery Associates LLC                 Contract and                 Miami Dade County Clerk of               Pending
      VS. Guillermo Ramon                               Indebtedness                 Court                                    On appeal
      2019-030576-SP-25                                                              111 NW First Street                        Concluded
                                                                                     Miami, FL 33128

      Midland Funding LLC VS.                           Contract and                 Miami Dade County Clerk of               Pending
      Guillermo Ramon                                   Indebtedness                 Court                                    On appeal
      2019-010354-CC-25                                                              111 NW First Street                        Concluded
                                                                                     Miami, FL 33128


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Debtor 2     Gloria Suarez                                                                           Case number (if known)    22-15202-LMI


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      No. Go to line 11.
          Yes. Fill in the information below.
      Creditor Name and Address                            Describe the Property                                        Date                   Value of the
                                                                                                                                                  property
                                                           Explain what happened
      Midland Funding, LLC                                 Wages                                                        05/2022 to              $1,433.62
                                                                                                                        07/2022
                                                            Property was repossessed.
                                                            Property was foreclosed.
                                                            Property was garnished.
                                                            Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
          No
      Yes. Fill in the details.
      Creditor Name and Address                            Describe the action the creditor took                        Date action was            Amount
                                                                                                                        taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

          No
      Yes
Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
      Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600               Describe the gifts                                       Dates you gave               Value
      per person                                                                                                        the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          No
      Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total           Describe what you contributed                            Dates you                    Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

          No
      Yes. Fill in the details.
      Describe the property you lost and             Describe any insurance coverage for the loss                       Date of your      Value of property
      how the loss occurred                          Include the amount that insurance has paid. List pending           loss                           lost
                                                     insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
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     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
          Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Timothy S Kingcade, Esq.                             Attorney's fees $2000                                    07.2022                  $2,585.00
      Kingcade, Garcia, McMaken, PA                        Court filing fees $338
      1370 Coral Way                                       Office cost $62
      Miami, FL 33145                                      Credit report cost $125
                                                           Budget briefing session $30
                                                           Accurint report $20


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
      Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
          Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or        Date transfer was
      Address                                              property transferred                       payments received or debts      made
                                                                                                      paid in exchange
      Person's relationship to you
      Guillermo A Ramon Sr.                                2016 Dodge Ram 5500 Tow                    No payments received in         07.01.2022
      3601 NW 5TH ST                                       Truck                                      exchange as vehicle
      Miami, FL 33125                                                                                 was under Debtors
                                                                                                      name but his father was
      Father                                                                                          the one making
                                                                                                      payments to the vehicle.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
          No
      Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                          Date Transfer was
                                                                                                                                      made




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Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
          No
      Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was            Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,           before closing or
      Code)                                                                                                           moved, or                        transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

          No
      Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                   Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                 have it?
                                                                   State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
      Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                   Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                         have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

      No
          Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                              Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

      Marisol Vidal                                                3603 NW 5th Street                     2020 Dodge Durango                           Unknown
      1243 SE 8TH TERR                                             Miami, FL 33125
      Cape Coral, FL 33990


Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you            Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

          No
      Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you            Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No
      Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                      Status of the
      Case Number                                                Name                                                                               case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            A member of a limited liability company (LLC) or limited liability partnership (LLP)
            A partner in a partnership
            An officer, director, or managing executive of a corporation
            An owner of at least 5% of the voting or equity securities of a corporation
      No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      Self Employed - Sales                                Cellphone Sales                                       EIN:

                                                                                                                 From-To    2019-2021


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

          No
      Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




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Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Guillermo A Ramon, Jr.                                  /s/ Gloria Suarez
Guillermo A Ramon, Jr.                                      Gloria Suarez
Signature of Debtor 1                                       Signature of Debtor 2

Date     July 15, 2022                                      Date     July 15, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person         . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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